             In the
        Court of Appeals
Second Appellate District of Texas
         at Fort Worth
     ___________________________

          No. 02-24-00029-CR
     ___________________________

     ABEL ADAN ALBIAR, Appellant

                      V.

          THE STATE OF TEXAS


On Appeal from Criminal District Court No. 1
           Tarrant County, Texas
         Trial Court No. 1806491


  Before Sudderth, C.J.; Kerr and Walker, JJ.
  Memorandum Opinion by Justice Walker
                           MEMORANDUM OPINION

       A jury convicted Appellant Abel Adan Albiar of aggravated assault with a

deadly weapon.     See Tex. Penal Code Ann. § 22.02(a)(2).          The jury found the

enhancement paragraphs to be true and assessed punishment at 33 years’

confinement. The trial court sentenced Albiar accordingly. In four issues on appeal,

Albiar argues (1) that the trial court’s and State’s statements at voir dire violated his

right to the presumption of innocence, and that the trial court’s statements at voir dire

were prejudicial under Rule 403 of the Texas Rules of Evidence (Issues one through

three); and (2) that the trial court erred by allowing a police officer to give speculative

testimony (Issue four). We affirm.

                                  I. BACKGROUND

       Because Albiar does not challenge evidentiary sufficiency, we will summarize

the facts only briefly. The complainant, Kimberly Rodriguez, testified at trial that she

and Albiar’s girlfriend, Chaylene, were friends. On January 17, 2020, Rodriguez gave

Chaylene a ride to another friend’s apartment.          Rodriguez left Chaylene at the

apartment while she returned to her house to change clothes and take her insulin.

After a few minutes inside of her house, Rodriguez went back to her car, and Albiar

approached her car. Albiar told Rodriguez that he wanted to talk to Chaylene, and he

got into Rodriguez’s vehicle. Rodriguez called and informed Chaylene that Albiar was

with her, but Chaylene did not want him to come to the apartment. Rodriguez took

Albiar to a Walmart parking lot to wait for Chaylene.

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      While they were waiting in Rodriguez’s car at the Walmart parking lot, Albiar

pulled out a knife. Albiar told Rodriguez that she better tell Chaylene to get there

soon or he would stab Rodriguez through her heart or slit her throat. Chaylene told

Rodriguez that she was going to the house she shared with Albiar, so Rodriguez took

Albiar there. While they were waiting for Chaylene, Albiar stabbed Rodriguez in her

chest, arm, and hand. Albiar then got out of Rodriguez’s vehicle and walked away.

Rodriguez drove herself to the hospital where she underwent surgery for her injuries.

A nurse at the hospital called 911 to report the stabbing.

                                   II. VOIR DIRE

      Albiar’s first, second, and third issues all concern statements made during voir

dire. At the beginning of voir dire, the trial court informed the jury panel that even

though the trial might not get to the punishment phase, the court must talk about it

now. The trial court explained that Albiar was charged with the second-degree felony

offense of aggravated assault with a deadly weapon and told the jury panel the

punishment range. The trial court then stated:

             Now, it’s also possible that the State will give evidence that
      [Albiar] has already been to prison one time. If that happens - - and
      don’t worry about these numbers, because all the parties will go over
      them, and they’ll put them up on the screen for you, too. So don’t feel
      like you need to memorize the numbers.

             But if the State were able to prove that the defendant had been to
      prison one prior time, that would raise the range from a minimum of
      five years, up to a maximum of 99 years or life in prison, and up to a
      $10,000 fine.


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             It is also possible that the State would be able to show that
      [Albiar] had been to prison two separate times prior. If that were the
      case, that raises the range to a minimum of 25 years in prison, up to a
      maximum of 99 years or life in prison.

Albiar did not object to the trial court’s statements. The trial court then asked the jury

panel if it could “keep an open mind” as to all three punishment ranges.

      Later during voir dire when discussing punishment, the State said, “like the

Judge said, if we prove our case, and we also prove that [Albiar] has been to the

penitentiary one prior time, it will bump up the punishment range.” The State then

asked the jury panel without objection if they could consider the “five to 99 years for

aggravated assault with a deadly weapon if we prove the enhancement?” The State

went on to explain to the jury panel:

      [Y]’all answered this already, but it’s important that we go over it.

             And again, habitual offender notice, this was the last one the
      Judge discussed. This is two consecutive . . . trips to prison. It bumped
      the range up again from 25 years to 99 years or life.

The State asked the jury panel if it could consider the full range of punishment for the

enhanced offense. Albiar did not object at any time during the State’s comments on

the enhanced punishment range.

      At the conclusion of the State’s voir dire, Albiar’s counsel stated outside the

presence of the jury panel:

             Judge, during your introduction or your initial - - initial portion of
      voir dire to this panel, prior to that, the State had showed me their - -
      their PowerPoint out of an abundance of caution. And during that, I
      saw during their - - their punishment qualifying questions that they

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      intended to present on the PowerPoint presentation to this voir dire - -
      or venire panel that they had used words like “repeat offender,” and also
      in regards to repeat offender saying that it equated to the person being
      sent to the prison - - had a pen trip or had been already sentenced to
      prison.

              Then they went on further to discuss in their - - in their
      PowerPoint habitual offender, which would mean that [Albiar] would - -
      if they could prove [Albiar] had two consecutive pen trips or prison
      trips, then that would enhance the penalty range from 25 to 99 years or
      life.

             I had spoken to the State prior to them putting that up, and so we
      are going to approach the Court regarding that, and I was going to make
      this similar objection. And then - - the Court went in to explain it, and
      actually explained it the same way that the State had.

             Judge, I just believe, out of an abundance of caution, I would like
      to make my objection to that. I believe that it’s improper. I believe
      there’s a 403. I believe it also comments on whether or not he is a
      convicted felon. Even in their case in chief only under certain
      circumstances would the fact that he has any priors even come into play
      during the case in chief.

             I believe it taints his presumption of innocence. I believe that
      now the polling - - at this point, the entire venire panel, but specifically
      his jury, even before any evidence has been presented, I believe that they
      think that he’s already been convicted and sent to prison at least once,
      and maybe twice, or even more.

             And just I would - - so I would just like to place my objection in
      at this point. I believe it’s improper, its 403 and it violates his
      presumption of innocence.

The trial court overruled the objections.

      In his first and second issues, Albiar contends that the trial court’s and the

State’s comments to the jury panel on the enhanced punishment ranges violated his

right to the presumption of innocence. In his third issue, he argues that the trial

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court’s statements to the jury panel were prejudicial under Rule 403 of the Texas

Rules of Evidence. The State responds that Albiar has not preserved his complaints

for review.

      To preserve a complaint for our review, a party must have presented to the trial

court a timely request, objection, or motion stating the specific grounds, if not

apparent from the context, for the desired ruling. Tex. R. App. P. 33.1(a)(1); Thomas v.

State, 505 S.W.3d 916, 924 (Tex. Crim. App. 2016). A party must object as soon as

the basis for the objection becomes apparent. Tex. R. Evid. 103(a)(1); London v. State,

490 S.W.3d 503, 507 (Tex. Crim. App. 2016). Because Albiar did not object at either

the time of the trial court’s comments or at the time of the State’s comments, we

agree that Albiar’s objection was not timely. But fundamental error may be raised for

the first time on appeal. Blue v. State, 41 S.W.3d 129, 131–32 (Tex. Crim. App. 2000)

(plurality opinion). Fundamental error exists if comments made during voir dire taint

the presumption of innocence. Id. at 132.

      Thus, we will consider Albiar’s first and second issues complaining that the trial

court and the State violated his right to the presumption of innocence. However,

because his third issue, that the trial court’s statements were prejudicial under

Rule 403 of the Texas Rules of Evidence, was not preserved with a timely objection

and does not raise a fundamental error, we hold that that complaint was not preserved

for review. Tex. R. App. P. 33.1(a)(1).



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      As to Albiar’s first and second issues, the Texas Code of Criminal Procedure

states that the indictment shall be read to the jury at the beginning of the trial on the

merits. Tex. Code Crim. Proc. Ann. art. 36.01(a)(1). When prior convictions are

alleged for enhancement purposes only and are not jurisdictional, that portion of the

indictment shall not be read until the hearing on punishment. Id.
      Article 36.01(a)(1) does not, however, prevent the trial court or the State from

informing the jury panel of the applicable punishment range if the State were to prove

a prior conviction for enhancement purposes. Frausto v. State, 642 S.W.2d 506, 509

(Tex. Crim. App. 1982). But the trial court or the State may not inform the jury panel

of the specific allegations contained in the enhancement paragraphs of the indictment.

Id.
      The record shows that neither the trial court nor the State discussed any

specific allegations contained in the enhancement paragraphs of Albiar’s indictment.

They did not inform the jury panel of the dates of the offenses or convictions. They

merely informed the jury panel of the applicable punishment ranges if the State were

to prove prior convictions for enhancement purposes. We hold that the comments

by the trial court and the State did not violate Albiar’s right to the presumption of

innocence. See id. We overrule Albiar’s first and second issues.

                       III. SPECULATIVE TESTIMONY

      In his fourth issue, Albiar argues that the trial court allowed a police officer to

give speculative testimony. At trial, Detective Aaron Christopher of the Fort Worth

                                           7
Police Department testified that he was assigned to investigate Rodriguez’s stabbing.

Detective Christopher obtained Rodriguez’s medical records which indicated she

suffered approximately five lacerations.       Detective Christopher stated that “the

doctors believe that several of the wounds went in one side of the body and out the

other [s]o we believe that one of the knife wounds went through one side of her

forearm and out the other.” The State then asked, “And based on your experience

investigating these types of crimes, does that through-and-through wound suggest the

type of force that was used to stab her?” Detective Christopher responded that it

would take considerable force to stab through someone’s arm. He then stated, “I

wouldn’t think it’d be something unintentional.”        Albiar’s counsel objected that

“based on that statement alone, it calls for speculation.” The trial court overruled the

objection.

      On appeal, Albiar argues that Detective Christopher was speculating because

he was not an expert on wound analysis and because he did not personally observe

the stabbing incident.    But any error in the admission of evidence is rendered

harmless when the same evidence comes in elsewhere without objection. Valle v.

State, 109 S.W.3d 500, 509 (Tex. Crim. App. 2003). On cross-examination, Albiar’s

counsel asked Detective Christopher about his prior testimony on the amount of

force it would take to cut someone “through-and-through”: “[S]o when you talk

about a through-and-through - - and this is - - I’m assuming this is based on your

experience, as well as just a - - as an officer, as well as a common person who I’m

                                           8
assuming that’s dealt with knives and cuttings before, whatever - - whatever it is.”

Counsel asked Detective Christopher further questions on “through-and-through”

cuts and Rodriguez’s injuries. Counsel then asked, “And so earlier when you were

speaking on a through-and-through requires more force, then wouldn’t it also make

sense that if there was that amount of force, you know, especially in the chest area,

one would think that the lacerations or the - - stabs would be deeper, correct?”

      Albiar’s counsel elicited testimony from Detective Christopher on “through-

and-through” stab wounds generally. He further asked specific questions about the

size of Rodriguez’s wounds in relation to a “through-and-through” cut. Counsel

asked Detective Christopher to give his opinion on “through-and-through” wounds

based upon his experience as a police officer and as a person familiar with knives. We

hold that any error in the complained-of speculative testimony on the amount of

force required for a “through-and-through” wound was rendered harmless when

Detective Christopher testified about “through-and-through” stab wounds on cross-

examination. See id. We overrule the fourth issue.

                                IV. CONCLUSION

      Having overruled all of Albiar’s issues on appeal, we affirm the trial court’s

judgment.




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                                  /s/ Brian Walker

                                  Brian Walker
                                  Justice

Do Not Publish
Tex. R. App. P. 47.2(b)

Delivered: August 22, 2024




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